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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA ) Criminal No. 1:2016-cr-00228
v. )

JURIJS MARTISEVS )
Defendant

NOTICE AND MOTION TO WITHDRAW AS COUNSEL

COMES NOW counsel for the defendant and hereby moves this Honorable Court to
allow for the Withdrawal of undersigned counsel in the above-captioned matter.

The following is submitted for this Honorable Court’s consideration of this motion:
1. Mr. Martisevs stands before this court having been indicted for violations of 18
U.S.C. §371 (Conspiracy); 18 U.S.C. §1349 (Conspiracy to Comrnit Wire Fraud); 18 U.S.C.
§1343 & 2 (Wire Fraud & Aiding and Abetting); and 18 U.S.C. §§ 2 & lO30(a)(5)(A)
(Computer Intrusion With Intent to Damage & Aiding and Abetting).
2. Shortly after undersigned counsel Was retained by Mr. Martisevs, Mr. Martisevs
began engaging in a pattern of constant attempts to harm himself and/or commit suicide. Mr.
Martisevs has indicated to undersigned counsel his motivations, Which are the dominating

force behind Mr. Martisevs desire to harm himself and/or commit suicide.

 

 

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3. As a result of multiple self-inflicted wounding and suicide attempts, Mr. Martisevs
was ordered by this Honorable Court to be evaluated for competency. That evaluation was
completed by Dr. Allyson N. Wood. While Dr. Wood’s final report is expected to be
finalized on January 8, 2018, conversations between Dr. Wood and undersigned counsel
indicate that Mr. Martisevs is, indeed, competent and intelligent

4. Considering some of these facts, along with privileged communications, undersigned
counsel has contacted the Virginia State Bar and posited the following question:

1 represent a client who is currently in jail awaiting trial.
He cannot obtain bond. While he has been in jail, he has
now tried to commit suicide at least 3 times and he has
been found with contraband (nooses, razor blades) on
multiple occasions. His trial date is still six months
away. He is being kept on suicide watch but that has not
deterred his attempts

l sincerely fear that, should he succeed in a future suicide
attempt, his family will file a wrongful death action
against the jail and will join me as a co-defendant in such
a lawsuit, possibly alleging that in some way my
representation of him was connected with his suicide.

Do my concerns present a conflict of interest which
would suggest that l move to withdraw from his case?

5. In response to the question submitted to the Virginia State Bar in paragraph (5)
above, the Virginia State Bar has responded:

Only if you believe that your professional judgment will
be impaired/materially limited because of this concern _
if your personal interests in avoiding this hypothetical
future claim against you will affect your ability to
diligently and competently represent the client, then yes,
you should withdraw. This is not a per se conflict but
essentially a subjective determination that you have to
make based on your level of concern about this situation.

 

 

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6. Based on direct communications, including discussions protected by the attorney-
client privilege, With Mr. Martisevs and others, undersigned counsel has concluded that Mr.
Martisev’s actions and other indications do materially impede undersigned counsel’s
professional judgement and his ability to diligently and competently represent him in this
matter.

7. On January 3, 2018, Mr. Martisevs clearly and unequivocally demanded that
undersigned counsel withdraw from his case and cease all forms of legal representation of
him in this cause.

8. Mr. Martisevs has irrevocably and irretrievably ceased all substantive communication
with undersigned counsel.

9. Additionally, due to Mr. Martisevs’ unabated acts of self-inflicted wounding and
suicide attempts, the Alexandria Adult Detention Center has given notice that they no longer
wish to house Mr. Martisevs. The U.S. Marshalls service has determined that Mr. Martisevs
should be housed at an alternative location such as the Northern Neck Regional Jail in
Warsaw, Virginia. This alternative location is approximately 100 miles south of Alexandria.
10. While Mr. Martisevs speaks and reads limited English, he requires the assistance of a
Russian translator in order to fully comprehend legal concepts and substantively discuss
various legal aspects related to his case. Should Mr. Martisevs be removed 100 miles away
from the local area, undersigned counsel is of the belief that his ability to provide effective
assistance of counsel will be further eliminated Ier. Martisevs had been originally housed
in such a location at the outset of this case, undersigned counsel would never have agreed to
be retained As this court is aware, a lawyer’s professional obligations do not exclusively

belong to any single client and must be equally administered to all his clients. With this in

 

 

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mind, undersigned counsel would have recognized that the geographical distance, alone,
would have prohibited the provision of his legal representation to Mr. Martisevs.

11. As Mr. Martisevs is entitled to effective assistance of counsel under the 6th
Amendment to the United States Constitution and as undersigned counsel has dutifully
investigated this cause and reasonably determined that his ethical duties along with Mr.
Martisevs’ 6th Amendment protections demand that he request to be withdrawn as counsel,
this motion is hereby submitted .

12. lt is unknown whether the United States objects to this request.

WHEREFORE, Counsel by and for Mr. Martisevs requests of this Honorable Court the
following relief:

a. This this court grant this request to withdraw undersigned counsel as Mr. Martisevs’
counsel in this case; and

b. Any further relief this court may consider reasonable and just.

Respectfully Submitted,

 

JURIJS MARTISEVS
By Counsel
/s/
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ERIC@THENOVALAWFIRM.COM
COUNSEL FOR JURIJS MARTISEVS

CERTIFICATE OF SERVICE

 

I, Eric E. Clingan, Esq., counsel for the Defendant, hereby certify on this 4th
day of January, 2018 that l will electronically file the foregoing pleading with

 

 

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the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

Kellen S. Dwyer, Assistant United States Attorney at the U.S. Attorney’s

Office for the Eastern District of Virginia 2100 Jarnieson Ave. Alexandria,
VA 22314

Pursuant to the Electronic Case Filing Policies and Procedures, a courtesy
copy of the foregoing pleading will be delivered to Chambers within one
business day of the electronic filing.

/s/

Eric E. Clingan,

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